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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:06-CR-174
v.
                                                        HON. ROBERT HOLMES BELL
TRESA ANNETTE BONDS,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #75). Based on a

review of defendant’s motion, the Sentence Modification Report, submissions by counsel

on behalf of the defendant and the government, and the original criminal file, the Court

has determined that the motion should be denied for the following reason(s):

       Defendant’s total offense level and criminal history category at the time of

sentencing would have put her at a guideline range of 108-135 months but for the

statutory maximum of 48 months. Defendant was sentenced to a term of custody of 30

months, which was a variance from the guidelines. The sentence of 30 months took into

consideration all of the factors the Court believed to be relevant to sentencing. As such,

the Court does not believe that any further reduction in sentence is warranted.
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      ACCORDINGLY, defendant’s Motion for Modification or Reduction of Sentence

is respectfully DENIED.




DATED:    May 19, 2008               /s/ Robert Holmes Bell
                                    ROBERT HOLMES BELL
                                    CHIEF UNITED STATES DISTRICT JUDGE
